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      IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

SHEILA J. MORRIS
3801 Ida Court
Forestville, Maryland 20747

                          Plaintiff


vs.                                                  Case No.

DOLGENCORP, LLC d/b/a Dollar General
100 Mission Ridge
Goodlettsville, Tennessee 37072-2171

Serve on:

       CSC Lawyers Incorporating Service
       Company
       7 St. Paul Street, #820
       Baltimore, Maryland 21202


                          Defendant

       And

DOLLAR GENERAL OCEAN PINES MD,L.L.C.
d/b/a Dollar General
13064 Riggin Ridge Road
Ocean City, Maryland 21842

Serve on:

       Spiro P. Buas
       13064 Riggin
      —Ocean-City,-N




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THE HONORABLE, THE JUDGES OF SAID COURT:

       COMES NOW Plaintiff, Sheila J. Morris, by and through her attorney, William C.


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McCaskill, and brings this action against the Defendants, Dolgencorp, LLC, and Dollar

General Ocean Pines MD, L.L.C., and in support states as follows:



                                            COUNTI

      1. That Plaintiff, Sheila J. Morris, is an adult citizen of the United States and a

resident of Prince George's County, Maryland.

      2. That Defendant, Dolgencorp, LLC d/b/a Dollar General, hereinafter

"Dolgencorp, LLC" is a Corporation organized under the laws of the State of Maryland,

licensed to_do .busine-ss- in the State of -Maryland, and- regularlyconducts business in the

State of Maryland and was so conducting business on or about July 21, 2017.

      3. That Defendant, Dollar General Ocean Pines MD, LLC is a Corporation

organized under the laws of the State of Maryland, licensed to do business in the State

of Maryland, and regularly conducts business in the State of Maryland and was so

conducting business on or about July 21, 2017.

      4. That on or about July 21, 2017, Plaintiff was shopping in a careful and prudent

manner at Dollar General owned and maintained by Dolgencorp, LLC located at 3300

Walters Lane, Forestville, Maryland 20747, when she stepped in an aisle on clear thick

laundry detergent, slipped and severely injured herself. At no time was Plaintiff

contributority negligenf and she had no opportunity to avoid the accident.

      5. That Defendant, Dolgencorp, LLC knew or should have known, in the

exercise of reasonable care, of the dangerous condition created by the spilled laundry

detergent in the aisle of the Dollar General in Forestville, Maryland, and knew for a

sufficient length of time prior to the time of the accident herein described to enable the


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Defendants, by the exercise of reasonable care and diligence, to have repaired and

remedied said hazardous condition.

       s. That it was then and there the duty of the Defendant, Dolgencorp, LLC to use

due care, to maintain and control the premise located at 3300 Walters Lane, Forestville,

Maryland 20747, to correct the hazardous condition created by the laundry detergent on

the floor, and to generally provide a reasonably safe place to walk for Defendant's

invitees, including the Plaintiff, Sheila J. Morris, or failing that, to warn the Plaintiff of

said hazardous condition.

       7, .__ at De en ant, Dolgencorp, LL -then-and -there- breached-its- duty byfailing--- - - --

to use due care to maintain and control said premise, by failing to correct the dangerous

condition created by the spilled laundry detergent, by failing to provide a reasonably

safe place for the Plaintiff to walk and by failing to adequately warn Plaintiff of the

hazardous condition created by the spilled laundry detergent.

       8. That said negligence on the part of the Defendant was the actual and

proximate cause of the accident and the actual and proximate cause of the injuries and

damages which occurred to the Plaintiff on the date aforesaid.

       9. That as a direct and proximate result of the negligence of the Defendant,

Dolgencorp, LLC., Plaintiff has suffered and will continue to suffer in the future, severe

physical—injur-ies and merital anguish. Additionally, Plaintiff has expended and will

continue to expend in the future, vast sums for medical care and treatment, medicines,

nursing service, physical therapy, and other protracted medical related attention.

Further, Plaintiff has lost extensive wages and will continue to lose such wages in the

future and thus presents a claim for earnings loss and loss of earning capacity. Finally,


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Plaintiff is unable to perform normal household duties and thus presents a claim for loss

of home services. AII of the above damages were directly and proximately caused by

Defendant, Dolgencorp, LLC. were incurred without contributory negligence on the part

of the Plaintiff or an opportunity for the Plaintiff, Sheila J. Morris, to avoid the accident.

       WHEREFORE, PlaintifP, Sheila J. Morris, demands judgment against the

Defendant, Dolgencorp, LLC in an amount greater than Seventy Five Thousand Dollars

($75,000), plus costs.

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       COMES NOW Plaintiff, Sheila J. Mon-is, by and through her attorney, William C.

McCaskill, and re-alleges and incorporates by reference the allegations set forth in

Count I-of this Complaint as if fully set forth herein and additionally and/or alternatively

states as follows:



       9. That on or about July 21, 2017, Plaintiff was shopping in a careful and prudent

manner at Dollar General owned and maintained by Dollar General Ocean Pines MD,

L.L.C., located at 3300 Walters Lane, Forestville, Maryland 20747, when she stepped in

an aisle on clear thick laundry detergent, slipped and severely injured herself. At no time

was-Plairitiff cont-ributorily negligent and she had no opportunity to avoid the accident.

       10.That Defendant, Dollar General Ocean Pines MD, L.L.C. knew or should have

known, in the exercise of reasonable care, of the dangerous condition created by the

spilled laundry detergent in the aisle of the Dollar General in Forestville, Maryland, and

knew for a sufficient length of time prior to the time of the accident herein described to



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enable the Defendant, by the exercise of reasonable care and diligence, to have

repaired and remedied said hazardous condition.

         i 1. That   it was then and there the duty of the Defendant, Dollar General Ocean

Pines MD, L.L.C.to use due care, to maintain and control the premise located at 3300                1




Walters Lane, Forestville, Maryland 20747, to correct the hazardous condition created

by the laundry detergent on the floor, and to generally provide a reasonably safe place

to walk for Defendant's invitees, including the Plaintiff, Sheila J. Morris, or failing that, to

warn the Plaintiff of said hazardous condition.

         1-2. That._.Defendant-,   -Dollar--- Gener-al- -Ocean --Pines MD, L.L:C.- then and there

breached its duty by failing to use due care to maintain and control said premise, by

failing to correct the dangerous condition created by the spilled laundry detergent, by

failing to provide a reasonably safe place for the Plaintiff to walk and by failing to

adequately warn Plaintiff of the hazardous condition created by the spilled laundry

detergent.

         13. That said negligence on the part of the Defendant was the actual and

proximate cause of the accident and the actual and proximate cause of the injuries and

damages which occurred to the Plaintiff on the date aforesaid.

         9. That as a direct and proximate result of the negligence of the Defend

DollarGeneral-Ocean Pines MD, L.L.C.,Plaintiff has suffered and will continue to suffer in

the future, severe physical injuries and mental anguish. Additionally, Plaintiff has

expended and will continue to expend in the future, vast sums for medical care and

treatment, medicines, nursing service, physical therapy, and other protracted medical

related attention. Further, Plaintiff has lost extensive wages and will continue to lose



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 such wages in the future and thus presents a claim for earnings loss and loss of earning

 capacity. Finally, PlaintifP is unable to perform normal household duties and thus

 presents a claim for loss of home services. AII of the above damages were directly and

 proximately caused by Defendant, Dollar General Ocean Pines MD, L.L.C. were

 incurred without contributory negligence on the part of the Plaintiff or an opportunity for

 the Plaintiff, Sheila J. Morris, to avoid the accident.

        WHEREFORE, Plaintiff, Sheila J. Morris, demands judgment against the

 Defendant, Dollar General Ocean Pines MD, L.L.C. in an amount greater than Seventy

 Five Thousand Dollars ($75,000), plus costs.



                                           COl11VT III

       The facts and allegations as more fully set forth in Count I and Count II are hereby

incorporated and made a part hereof as if fully recited herein, and it is further alleged:

        14. That Defendants, Dolgencorp, LLC and Dollar General Ocean Pines MD, LLC.,

 are jointly and severally liable for the injuries sustained by Plaintiff, Sheila Morris.

       WHEREFORE, PlaintifF, Sheila Morris, demands judgment against Defendants,

Dolgencorp, LLC and Dollar General Ocean Pines MD, LLC., jointly and severally, in an

amount greater than Seventy Five Thousand Dollars ($75,000), plus costs.



                                                     Respectfull.y submitted,
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                                                                  /
                                                         -,.%`•
                                                     V1(Iliam C. McCaskill, Esq. #10506
                                                     6448 Bock Road
                                                     Oxon Hill, Maryland 20745
                                                     (240) 667-7702
                                                     Attorney for Plaintiff
                                                      CPF#0406150204
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          IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

    SHEILA J. MORRIS
    3801 Ida Court
    Forestville, Maryland 20747

                               Plaintiff


    vs.                                                    Case No.

    DOLGENCORP, LLC d/b/a Dollar General
    100 Mission Ridge
    Goodlettsville, Tennessee 37072-2171

    Serve on:

          CSC Lawyers Incorporating Service
          Company
          7 St. Paul Street, #820
          Baltimore, Maryland 21202


                               Defendant

          And

    DOLLAR GENERAL OCEAN PINES MD,L.L.C.
    d/b/a Dollar General
    13064 Riggin Ridge Road
    Ocean City, Maryland 21842

    Serve on:

          Spiro P. Buas
          1_3064-Riggin_ Ridge--Road-- - - -- - - -- - --- - —
-         Ocean City, Maryland 21842




                                  REQUEST F®R JURY TRIIAL

          Plaintiff, by counsel, hereby requests a trial by jury in the above captioned

    matter.


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                                   1Wlliam C. McCaskill, Esq.
                                   6448 6ock Road
                                   Oxon Hill, Maryland 20745
                                   (240) 667-7702
                                   Williamgp.gcountyinju  ry.com
                                   Attorney For Plaintiff
                                   CPF#0406150204




                             H.,


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